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                  CERTIFICATE OF GOOD STA]YDI]VG

STATE OF MARYLAND, ss:

      I, Suzanrfte Johnson, Clerk of the Court o/'Appeats of Maryland,
do hereby certify that on thefourth day of Januery, 1990,


                             Blair Gcrarb Browr,r

having   first   taken and subscribed the oath prescribed by the Constitution and
Laws of this State, was admitted as an attorney of said Court, is now in good
standing, and as suclt ,s entitled to practice law in any of the Courts of said
State, subject to the Rules of Court.

                                        nnW,*ttnnny9lll*efi, I have hereunto
                                        set my hand as Clerk, and  ffixed the Seal
                                        of the Court of Appeals of Maryland, this
                                        sixth day of April, 2022.




                                                Clerk of the Court of Appeals of Maryland
